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FORENSIC PSYCHOLOGICAL EVALUATION

September 20, 2023

Honorable Monte C. Richardson

United States Magistrate Judge

300 North Hogan Street

Jacksonville, Florida 32202

Email: Sharon_Spaulding@flmd.uscourts.gov

RE: Neal Brij Sidhwaney

Case Number: 3:23-cr-122-MMH-MCR
DOB: 09

DOE: 9/18/2023

REASON FOR REFERRAL:

Per the September 11. 2023 sua sponte order of the Honorable Monte C. Richardson. a
psychological evaluation was conducted on Neal Brij Sidhwaney in a conference room at the
Baker County Detention Center in MeClenny, Florida on September 18, 2023. The defendant
was charged with one count of transmitting a communication containing a threat to injure or
commit violence against another with recklessness on or about July 31, 2023. The purpose of the
evaluation was to assess the defendant's competency to stand trial which includes the ability to
understand the nature and consequences of the proceedings, and the ability to assist properly in
the defense.

SOURCES OF INFORMATION:

Procedures included a diagnostic interview and history. mental status examination and
administration of the Evaluation of Competency to Stand Trial-Revised. Records reviewed
include:

1) Supreme Court Police Protective Intelligence Unit Memorandum of Activity on 8/8/23:
and
2) Memorandums of Activity of 8/9/2023.

Medical records from Shands Jacksonville have been requested. In addition, this examiner
consulted with his parents on the same day as the evaluation.
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INFORMED CONSENT:

The defendant was informed of the purpose of the evaluation and that a report would be
submitted to the court with copies provided to his public defender and the U.S. Attorney. After a
single explanation he was able to restate the evaluation purpose and acknowledge the limits to
confidentiality. Defense counsel Katie Sheldon was present throughout the examination.

BEHAVIORAL OBSERVATIONS AND MENTAL STATUS EXAMINATION:

Neal Sidhwaney is a 43 year-old balding white male who was wearing glasses and dressed in an
orange prison uniform. Intelligence was estimated to fall in the superior range, and the defendant
was oriented to person, place and time. Speech was rather rigid and stilted but thought stream
was coherent, relevant and sequential. Despite his denial of all psychotic symptoms (including
auditory and visual hallucinations, or delusional thinking,) as the examination continued
delusional thought processes became evident. Remote and recent memory was intact. He was a
good historian and he was able to recall what he had eaten for dinner the previous evening as
well as three random words five minutes post presentation. Concentration was intact and he was
able to recite the months of the year backward without difficulty. Affect was restricted and mood
self described as despondent. At age fifteen he experienced suicidal ideation, but he denied
current suicidal ideation or intent.

DEVELOPMENTAL AND FAMILY HISTORY:

Birth and early development were unremarkable. During his childhood he did not feel he was
emotionally supported by his parents, or that they understand him. Personality as a child was
described as energetic. He has no recall of any physical or sexual abuse growing up. In school he
was enrolled in advanced classes where he made good grades while playing tennis and setting up
a computer lab for the school. There were no behavioral problems and he eventually completed a
master’s degree in computer science from Cornel University. Single, he has never been married
and in January 2023 he moved in with his parents.

VOCATIONAL HISTORY:

At the time of his arrest he was unemployed, claiming he could not obtain employment due to a
discriminatory investigation by a private security firm which allegedly accused him of pedophilia
and other crimes. For the last four years he has been unemployed. Prior to that for six weeks he
was a computer programmer for Providence Intelligence Services. Prior to that for eight years he
was a programmer for Google and won a number of company awards for his achievements.

MEDICAL AND PSYCHIATRIC HISTORY:

No physical problems were listed. Overall energy level was self rated as high. He denies a
history of drug or alcohal abuse. Since being arrested he has gained ten to fifteen pounds. Last
July when pulled over by the Nassau County Sheriff's office. he was Baker Acted to Shands
Jacksonville. Soon after his release from the hospital he was arrested. Initially he refused to take
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prescribed medication at the hospital but eventually complied. Hospitalized for three weeks, he
was diagnosed with psychosis. At the present time he is stabilized on the antipsychotic Risperdal,
but questions the need for psychotropic medication. Since 2004 he has been treated on and off
for emotional problems, specifically depression but his last outpatient treatment was in 2018.

According to his parents he believes a private agency has been following him, However, his
paranoia began in 2017 when he left Google. Over time the identity of the offending agency has
changed from Google to the FBI to the Secret Service to the current security agency.

According to his mother he becomes enraged watching the news which tri geers him to write
letters and e-mails or make phone calls. According to the defendant he started off complaining to
city officials about issues but gradually targeted state and the federal government for his
complaints. His mother reported that he has expressed the belief that Google planted a chip in his
head and foot. Since arriving home he has been afraid to leave the house, going out only to get
coffee and returning home. Sleep is disturbed as he will stay up to three a.m. and then sleep late.

DIAGNOSTIC IMPRESSION:

F22 Delusional disorder ( provisional)
F29 Unspecified schizophrenia spectrum and other psychotic disorder

COMPETENCY ASSESSMENT:

APPRECIATION OF THE CHARGES OR ALLEGATIONS: Neal Sidhwaney stated he had
been charged with “making a threat against a public official.” The identified official is Chief
Justice John Roberts whom he allegedly contacted by phone call and threatened to kill. The
offense he thought on July 31, 2023. but he was not arrested until August 18, 2023 driving back
to his parent’s house by the Nassau County Sheriff's Department.

RATING: ACCEPTABLE

APPRECIATION OF THE RANGE OF POSSIBLE PENALTIES WHICH MAY BE
IMPOSED AGAINST THE DEFENDANT: The defendant believes he is facing a maximum
sentence of five years incarceration and a $250,000.00 fine. Posting bail was defined as “an act
in exchange for financial sum so can be released.” He was unable to identify probation as an
alternative to incarceration. When on probation he believes one “must follow constraints, no
criminal activity.” He knew little about probation conditions which is not considered unusual
considering his lack of criminal history. If one failed to abide by the rules of probation then “face
more charges.” If the case was dismissed then “be as if charges were never brought up.”
RATING: ACCEPTABLE

UNDERSTANDING OF THE ADVERSARIAL NATURE OF T HE LEGAL PROCESS: Mr.
Sidhwancy understands that his attorney will stand up for him in court and seek the “best
possible outcome, interpret the law that is beneficial to myself.” He is aware the U.S. Attorney is
responsible for prosecuting the case and he would not speak with the prosecutor without his
attomey present as,” | could say something that could damage my own case.” The judge is in
charge of the court, decides on guilt or innocence and determines the sentence. A judge is present
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“to insure the law is interpreted correctly.” If there were a jury trial, the jury would, “decide
innocent or guilty.” Witnesses, “provide testimony regarding their viewpoint” and he recognizes
their testimony could benefit either the prosecution or the defense. Evidence provides
information “supporting one side.” He understands that information could benefit either the
defense or the prosecution. If the prosecution made him what they described as a good offer he
would, “need to understand the alternatives” and speak with his attorney.

RATING: ACCEPTABLE

CAPACITY TO DISCLOSE TO COUNSEL FACTS PERTINENT TO THE PROCEEDINGS
AT ISSUE: Neal Sidhwaney understands his attorney was assigned to him, and he recalled
having spoken with her three times. He expects that she provide. “qualified counsel, be an expert
on my options.” His attorney he believes expects “the facts as I know them to be true.” Plea
options were identified as not guilty, guilty and NGI. The fourth possible choice of no contest
was reviewed and later he remembered this choice. A plea bargain was described as, “sentence
reductions in exchange for a plea” but he was advised that plea bargains are not a formal process .
in the federal system. If he had a disagreement with his attorney he would “try to understand why
I see things differently~ and discuss it with his altorney.

RATING: ACCEPTABLE

ABILITY TO MANIFEST APPROPRIATE COURTROOM BEHAVIOR: If an individual
refused to abide by the rules of the court then he understands they can be charged with contempt.
If he heard a witness for the prosecution tell a lie about him in court he would “mention it to my
lawyer.” One is allowed to speak in court “when addressed by judge or counsel.” There appears
to be a low probability of acting out in the courtroom.

RATE: ACCEPTABLE

CAPACITY TO TESTIFY RELEVANTLY: Ifasked by his representative to take the witness
stand to testify on his own behalf, he would do so even though he is aware of his right to
decline. Perjury was defined as “telling false statements on witness stand” for which a person
could “face additional charges.” This individual could testify on his own behalf but would try to
convince others as to the validity of his delusional belief system.

RATING: BORDERLINE ACCEPTABLE

OPINION REGARDING COMPETENCY TO PROCEED:

While competence to proceed is ultimately a legal issue to be determined by the court, in my
professional opinion the defendant meets the minimal standards for competency to proceed.
Despite suffering from a severe mental disease or defect, namely delusional disorder with
psychosis, he is relatively stable on an appropriate psychotropic medication regimen. He is very
intelligent and is able to rationally and factually understand the nature and consequences of the
proceedings and is able to properly assist in the defense. It is further my opinion the defendant
has sufficient ability to consult with counsel with a reasonable degree of rational as well as
factual understanding of the proceedings.

The court should be aware his fixed delusional beliefs have been present for several years.
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Although his functioning appears to be significantly improved with psychotropic medication, he
maintains his paranoid belief system.

Thank you for the opportunity to assist the court in the administration of justice. Should there be
further questions or if I can be of additional assistance, please feel free to contact this office.

A/G

Alan J. Harris, Ph.D.
Licensed Psychologist

Ce: Kathryn Sheldon, Esquire
Assistant Public Defender
200 W. Forsyth Street, Ste. 1240

Kirwinn Mike, Esquire
Assistant United State Attorney

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